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                     UNITED STATES COURT OF INTERNATIONAL TRADE
                                 ONE FEDERAL PLAZA
                               NEW YORK, NY 10278-0001



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                                                                        April 15, 2021

Re:    Metropolitan Staple Corp. v. United States et al., Court No. 20-00053

Dear Counsel:

       In PrimeSource Building Products, Inc. v. United States, Slip Op. 21-08 (Jan. 27, 2021)
(“PrimeSource I”) and PrimeSource Building Products, Inc. v. United States, Slip Op. 21-36
(Apr. 5, 2021) (“PrimeSource II”), this Court adjudicated a claim that in substance
parallels the claim stated in Count 2 of the complaint in this case. In PrimeSource II, this
Court entered summary judgment in favor of the plaintiff in that case, on the claim that
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is substantially similar to the one stated in Count 2. In light of the decisions reached in
PrimeSource I and PrimeSource II, the court requests that each counsel consult with
counsel for the other party with the objective of arriving at an agreed-upon proposed
schedule or alternate procedure that will apply to the continuation of this
litigation. Should counsel not reach agreement, the court requests that each party
submit a separate proposal.

      The court requests that counsel respond to this request by April 30, 2021. Should
you have any questions that require the court’s involvement, please contact Ms. Cynthia
Love by email at cynthia_love@cit.uscourts.gov or by telephone on 212-264-2923. Thank
you for your cooperation.

                                                 Very truly yours,
                                                 /s/ Jennifer Choe-Groves
                                                 Jennifer Choe-Groves, Judge

                                                 /s/ M. Miller Baker
                                                 M. Miller Baker, Judge

                                                 /s/ Timothy C. Stanceu
                                                 Timothy C. Stanceu, Judge
